                                                                                                                      $86$6XOOLYDQ
                      Case 1:22-mj-02526-BPG Document 1 Filed 09/06/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the                                    ____ FILED ___ ENTERED
                                                                                                         ____ LOGGED _____ RECEIVED
                                                     DistrictDistrict
                                                __________    of Maryland
                                                                      of __________
                                                                                                         3:11 pm, Sep 06 2022
                  United States of America                       )                                       AT BALTIMORE
                             v.                                  )                                       CLERK, U.S. DISTRICT COURT
                                                                 )      Case No.       22-2526 BPG       DISTRICT OF MARYLAND
                                                                                                         BY ______________Deputy
                                                                 )
                      JUSTIN KUCHTA                              )
                                                                 )
                                                                 )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   July 18, 2022              in the county of                                     in the
                       District of          Maryland         , the defendant(s) violated:

              Code Section                                                                 Offense Description
        18 U.S.C. § 875(c)                           Interstate Communication Containing a Threat to Injure




         This criminal complaint is based on these facts:
See affidavit.




         ✔ Continued on the attached sheet.
         u


                                                                                            Complainant’s signature

                                                                                 Jessica O’Shea, Special Agent, USCP
                                                                                             Printed name and title

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            September 6, 2022
Date:
                                                                                               Judge’s signature

City and state:                      Baltimore, Maryland                      Hon. Beth P. Gesner, U.S Magistrate Judge
                                                                                             Printed name and title
